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     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
4    Designated Counsel for Service
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5    Fresno, California 93721-2226
     Telephone: (559) 487-5561
6
     Attorneys for Defendant
7    Gregory Burns Snyder
8
9
                                   IN THE UNITED STATES DISTRICT COURT
10
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,                       )   NO. 1:10-cr-00080 AWI-DLB
                                                     )
14                         Plaintiff,                )   AMENDED STIPULATION TO CONTINUE
                                                     )   STATUS CONFERENCE HEARING;
15          v.                                       )   [PROPOSED] ORDER
                                                     )
16   GREGORY BURNS SNYDER ,                          )
                                                     )   Date: March 26, 2012
17                         Defendant.                )   Time: 10:00 a.m.
                                                     )   Judge: Honorable Anthony W. Ishii
18                                                   )
19
20          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective counsel
21   of record herein, that the Status Conference in the above captioned matter, now scheduled for March 19,
22   2012, may be continued to March 26, 2012, at 10:00 a.m.
23          The reason for this continuance is to allow additional time for plea negotiations. The requested
24   continuance will conserve time and resources for both counsel and the court.
25          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
26   justice herein and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
27   3161(h)(8)(B)(I) and (iv).
28
              Case 1:10-cr-00080-DAD-BAM Document 78 Filed 03/16/12 Page 2 of 2


1                                                              BENJAMIN B. WAGNER
                                                               United States Attorney
2
3    Dated: March 15, 2012                                     /s/ Laurel J. Montoya
                                                               LAUREL J. MONTOYA
4                                                              Assistant United States Attorney
                                                               Attorney for Plaintiff
5
6                                                              DANIEL J. BRODERICK
                                                               Federal Defender
7
8    Dated: March 15, 2012                                     /s/ Francine Zepeda
                                                               FRANCINE ZEPEDA
9                                                              PEGGY SASSO
                                                               Assistant Federal Defender
10                                                             Attorneys for Defendant
                                                               Gregory Burns Snyder
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12
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15                                                  ORDER
16             IT IS SO ORDERED. Status Conference to be held March 26, 2012, at 1:00 p.m.
17   Time is excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161 (h)(8)(B)(i)and (iv)
18   IT IS SO ORDERED.
19
     Dated:        March 15, 2012
20   0m8i78                                                  CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status
     Conference Hearing; [Proposed] Order              -2-
